           Case 3:08-cr-00045-LRH-VPC                Document 115           Filed 10/30/09        Page 1 of 5
AO 245C (Rev.06/05)AmendedJudgmentinaCrlminalCase
        Sheetl                                                                              (NOTE'IdentifvChangeswi
                                                                                                                  thAsterisks(#))
                                         IJN ITED STA TES DISTRIC T C O U RT
                                                D ISTR IC T O F N EV AD A

IJNITED STATES OF AM ERJCA                                 AM E ND ED JUD G M EN T IN A CRIM IN AL CA SE
               VS.
M ICHAEL STRAIN                                            CASE NUM BER:              3:08-cr-45-LRH(RAM )
                                                           USM N UM BER:              43113-048

DATE OF OR IGINAL JIJDG M EN T:October 19.2009                               Steve Sexton
(orDateofLastAmended Judgment)                                               Defendant'sAttorney

REASON FOR AM ENDM ENT:
()CorrectionofSentenceonRemand                              )Modification ofSupervisionConditions(18U.S.C.j3563(c)
          (18:3742(941)& (2))                                      OR 3583(e)).
()ReductionofSentenceofChangcdCircumstances                 )Modification ofImposedTerm oflmprisonmentforExtraordinary
         Fed.R.Crim.P.35(b))                                       andCompcllingReasons(18U.S.C.j3582(c)(1))
()CorrectionofSentenceb),SentencingCourt                    )M oditicationoflmposedTerm oflmprisonmentfor
         (Fed.R.Crim.P.35(a))                                       RctroactivetotheSentencingGuidelines18U.S.C.j3582(c)(2))
(Z)CorrectionofSentencctbrClericalM istake                 ( )DirectMotionto DistrictCourtPursuantto()28U.S.C.j2255.
         (Fed.R.Crim.P.36)                                          ()I8U.S.C.j35594c)(7)
                                                             )ModilicationofRestitutionOrder(I8U.S.C.j3664)
TH E DEFENDANT:
(J') pledguilt'
              y to theM isdemeanorlnformation
( ) pled nolocontenderetocountts)                          -                    whichwasacceptedbythecourt.
( ) wasfoundguilty on cotmtts)                                              afterapleaofnotguilty,.
Thedefendantisadjudieated guilt'
                               yoftheseoffenses:
Title & Section                   N ature ofOffense                          O ffense Ended                       Count

18 U .S.C.1701                       Obstruction ofM ailsGenerally           5/6/08

        Thedefendantissentencedasprovided inpages2through 5 ofthisjudgment.Thesentenceisimposed
pursuantto the Sentencing Reform Actof 1984.

()       Thedefendanthasbeenfoundnotguiltyoncountts)
(/4      Al1remaininucountsaredismissedonthemotionoftheUnited States.
       IT IS ORDERED thatthedefendantshallnotify the United StatesAttorney forthisdistrictwithin 30 daysofany
change ofname,residence,orm ailing addressuntila1Itines,restit-ution,costs.and specialassessm entsim posed by this
judgmentarefullypaid.Iforderedto payrestitution,thedefendantshallnotify thecourtand UnitedStatesattorney of
any m aterialchangesin economic circum stances.

                                                                     OCTOBER 30.2009
                                                                     Date of p sition ofJudgment
           ,
                FILED           --      BECENED
                ENTERED                 SERV'
                                            U
                                            -I QQ
                          CCIJNSEL/FAFJIESOF81201
                                                q2                   SignatureofJudge

                                                                     LARRY R.HICK S
                     ûc-
                       f'3 () 20C)9                                  U.S.DISTRICT JUDGE
                                                                     Nam e and TitleofJudge
                 CLERK tlsDISTRICTOOLIRT
                    D'
                     ,STRIGTOFNEVADA                                    /o A /$
        BY:                                DEFI
                                              JTY                    Date
           Case 3:08-cr-00045-LRH-VPC                Document 115      Filed 10/30/09      Page 2 of 5
AO 245C (Rev 06/05)AmendedJudgmenti
                                  n aCriminalCase
       Sheetl
DEFENDANT:               M ICHAEL STRAIN                                                          Judgm ent-Page 2
CASE NUM BER:            3:08-cr-45-LRH(RAM )
                                                    **IM PRISO N M EN T

        The defendantishereby comm itted to the custody ofthe United StatesBureau ofPrisonsto be imprisoned fora
totalterm of:




        The courtm akesthe follow ing recom mendationsto theBureau ofPrisons:




        The defendantisremanded to thecustody ofthe United States M arshal.

        The defendantshallsurrenderto the United StatesM arshalforthisdistrict:
        ()       at              a.m .
                                     /p.m.on
        ()       asnotitiedby theUnited StatesM arshal.
        The defendantshallsurrenderforservice ofsentence atthe institution designated by theBureau ofPrisons:
        ()       before2p.m.on
        ()       asnotifiedbytheUnitedStatesM arshal.
        ()       asnotifiedbytheProbationofPretrialServicesOffice.
                                                        R ETU R N

Ihaveexecutedthisjudgmentasfollows:




        D efendantdelivered on                                  to
at                                                                            ,withacertified copyofthisjudgment.

                                                                UN ITED STATES M A RSHA L

                                                                BY :
                                                                          Deputy United StatesM arshal
          Case 3:08-cr-00045-LRH-VPC               Document 115          Filed 10/30/09       Page 3 of 5
AO2458 (Rev.09/08)Jud!mentlnaCriminalCase
         Sheet4-Probatlon
DEFENDANT:                  M ICHA EL STRAIN                                                        Judgm ent-Page 3
CASE NUMBER:                3:08-cr-45-LRH(RAM)
                                                     PRO BA TIO N

        Thedefendantishereby'senteneed to probation fora term ofTW O (21YEARS

Thedefendantshallnotcomm itanotherfederal,state,orlocalcrime.

Thedefendantshallnotunlawfully possessa controlled substance. The defendantshallrefrain from any unlawfuluseof
a controlled substance.Thedefendantshallsubm itto one drug testw ithin l5 daysofrelease from im prisonm entand at
leasttwo periodic drug teststhereafter,notto exceed 104 drug testsannually. Revocation ismandato:y forrefusalto
comply.

        The above drug testing condition issuspended based on thecourt'sdeterm ination thatthe defendantposesa low
        riskoffuturesubstanceabuse.(Check,ifapplicable.)
        The defendantshallnotpossessa firearm ,amm unition,destructive device,orany otherdangerousw eapon.
        (Check,ifapplicable.)
        Thedefendantshallcooperateinthecollection ofDNA asdirectedbytheprobationoffice.(Check,if
        applicable.)
        Thedefendantshallcomply withtherequirementsoftheSex OffenderRegistrationandNotificationAct(42
        U.S.C.j l6901,etseq.)asdirectedby theprobation oftice,theBureauofPrisons,orany statesexoffender
        registration agency in which he orsheresides,w orks,isastudent,orwasconvicted ofa qualifying offense.
        (Check,ifapplicable.)
        Thedefendantshallparticipatein anapprovedprogram fordomesticviolence.(Check,ifapplicable.)

       lfthisjudgmentimposesatineorarestitution,itisacondition ofprobationthatthedefendantpayin accordance
withtheScheduleofPaymentssheetofthisjudgment.
        The defendantm ustcomply w ith the standard conditionsthathavebeen adopted by thiscourtaswellasw ith any
additionalconditionson theadached page.

                                    STANDARD CONDITIO NS OF SIJPERV ISIO N
        thedefendantshallnotleavethejudicialdistrictwithoutthepennissionofthecourtorprobationoftice;
        thedefendantshallreporttotheprobation ofliceandshallsubm itatruthfuland completewrittenreportwithin thefirstfive
        days ofeach m onth'
3)      tbedefendantshallanswertruthfully a11inquiriesbytheprobation officeand follow theinstructionsoftheprobationoftice;
4)      thedefendantshallsupporthisorherdependantsandmeetotherfamilyresponsibilities'    ,
5)      thedefendantshallworkregularly atalawfuloccupation unlessexcusedby theprobationofficeforschooling,training.or
        otheracceptable reasons'
        thedefendantshallnotify theprobation officetendayspriortoanychange inresidenceorem ploym ent'   ,
        thedefendantshallrefrain from excessiveuseofalcoholandshallnotpurchase,possess,use,distribute,oradministerany
        controlled substance orany paraphernaliarelatedto anycontrolled substances,exceptasprescribed by aphysician'
        thedefendantshallnotfrequentplaceswherecontrolledsubstancesareillegally sold,used,distributed,oradministered;
        thedefendantshallnotassociatewith anypersonsengaged in crim inalactivity,and shallnotassociatewith anyperson
        convictedofafelonyunlessgranted pennissiontodo soby theprobation oftice'
l0)     thedefendantshallpermitaprobationofficetovisithim orheratanytimeathomeorelsewhereandshallpermitcontiscation
        ofany contraband observedinplain view oftheprobation office'
l1)     thedefendantshallnotify theprobation officewithinseventy-twohoursofbeing arrested orquestionedby aIaw enforcement
        office'
I2)     tbedefendantshallnotenterinto anyagreementto actasan informeroraspecialagentofalaw enforcementagency'without
        thepennission ofthecourt'and
        asdirectedbytheprobation office,thedefendantshallnotifythird partiesofrisksthatm aybeoccasionedbythedefendant's
        crim inalrecordorpersonalhistoryorcharacteristics,and shallperm ittheprobation officeto m akesuch notificationsandto
        contirm thedefendant'scompliancewith such notiticationrequirem ent.
             Case 3:08-cr-00045-LRH-VPC                     Document 115   Filed 10/30/09   Page 4 of 5
AO 245C7 (Re%'.06/05)ArrlendedJudgrcentlnaCrirrlirlalCase
          Sheet3-SupervisedRelease
DEFENDANT:                   M ICHAEL STRAIN                                                    Judgment-Page 4
CASE NUM BER:                3:08-cr-45-LRH(RAM )
                                           SPECIAL C'ONIH TTO NS OF SUPERW SIO N

         W arrantlessSearch -The defendantshallsubm ithisperson,propert  y,residence orautomobile underhiscontrol
         by the probation officerorany otherauthorized person underthe immediate and personalsupervision ofthe
         probation officer,withouta search warrantto ensurecompliance with aIlconditionsofrelease.

          Substance Abuse Treatm ent-Thedefendantshallparticipate in,and successfully complete,a substance abuse
          treatm entand/orcognitive based Iife skillsprogram ,which w illinclude drug-/alcoholtesting oroutpatient
          counseling,asapproved and directed by theprobation ofticer. Further,the defendantshallberequired to
          contribute to thecostsofsenzices forsuch treatm ent,asapproved and directed by the probation ofticer based
          upon hisabilit'y to pay. Aspartofthistreatment.the defendantshallenterand com plete a 28 day residential
          inpatienttreatm entprogram .
          A lcoholAbstinence -Defendantshallrefrain from the useand possession ofbeer,w ine,liquorand otherform sof
          intoxicants.
          Gam blinuProhibition -The defendantshallnotenter,frequent,orbe involved w ith any legalor illegalgam bling
          establishm entoractivity,exeeptforthe purpose ofem ployment,asapproved and directed by theprobation
          officer.
          Gamblinu Addiction Treatment-The defendantshallrefrain from any form ofgam bling and shallparticipate in a
          program forthetreatm entofgambling addiction athisown expense,asapproved and directed by the probation
          officer,based upon hisability to pay.

          Reportto Probation OfficerAfterRelease from Custodv -D efendantshallreport,in person,tothe probation
          office in thedistrictto which he isreleased within 72 hoursofdischarge from custody.
          Case 3:08-cr-00045-LRH-VPC                  Document 115          Filed 10/30/09   Page 5 of 5
AO 245C (Rev.06/05)AmendedJudgrnentinaCrlminalCase
         Sheet3 -SupervisedRelease
DEFENDAN T:               M ICHAEL STRAIN                                                         Judgment-Page 5
CASE NUMBER:              3:08-cr-45-LRH(RAM )
                                         CR IM IN A L M O N ETAR Y PEN ALTIE S
        The defendantm ustpay thetotalcrim inalm onetary penaltiesunderthe schedule ofpaymentson Sheet6.

                                     Assessm ent                     Fine                       Restitution

        Totals:                      $10.00                          SW A IVED                  $N/A
                                     Due and payable im mediately.

        On motion by the Governm ent,IT IS ORDERED thatthe specialassessmentimposed by the Courtisrem itted.

  )     Thedeterminationofrestitutionisdeferreduntil                             .An AmendedJudgmentin aCriminalCase
        (AO 245C)willbeenteredaflersuchdetermination.
        Thedefendantshallmakerestitution (includingcommunity restitution)tothefollowingpayeesin theamount
        Iisted below .

        lfthe defendantm akesa partialpaym ent,each payee shallreceive an approxim ately proportioned paym ent,
        unlessspecified othem ise in the priority orderorpercentage paymentcolum n below .However pursuantto l8
        U.S.C.j3664(1),al1nonfederalvictimsmustbepaidbeforetheUnited Statesispaid.
N ame ofPavee                                 TotalLoss              Restitution Ordered        Priorit'
                                                                                                       v ofPercentaee

Clerk,U.S.DistrictCourt
Attn:FinancialOffice
CaseN o.
333 LasVegasBoulevard,South
LasVegas,NV 89101

TOTALS                                        $                      $


Restitution amountordered pursuantto plea agreement: $

ThedefendantmustpayinterestonrestitutionandaGneofmorethan$2,500,unlesstherestit-
                                                                               ution orfineispaid in full
beforetbetifteenthdayafterthedateofjudgment,pursuantto 18U.S.C.j3612(9.Al1ofthepaymentoptionsonSheet6
maybesubjecttopenaltiesfordelinquencyanddefault,pursuantto18U.S.C.j3612(g).
The courtdeterm ined thatthe defendantdoesnothavethe ability'to pay interestand itisordered that:

        theinterestrequirementiswaivedforthe: ( )fine ( )restitution.
        theinterestrequirementforthe: ( )fine ( )restitution ismodifiedasfollows:




*FindingsforthetotalamountofIossesarerequired underChapters 109A,l10,110A,and l13A ofTitle l8 foroffenses
eomm itted on orafterSeptemberl3,1994 butbefore April23,l996.
